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     Attorneys for Plaintiff,
 7   EARNESTEEN HARRIS
 8
                          UNITED STATES DISTRICT COURT
 9                             DISTRICT OF NEVADA
10
     EARNESTEEN HARRIS,
11                                               Case No.: 2:17-cv-02321-RFB-CWH
                     Plaintiff,
12                                               NOTICE OF SETTLEMENT
13
           vs.                                   BETWEEN EARNESTEEN HARRIS
                                                 AND BANK OF AMERICA, N.A.
14   BANK OF AMERICA, N.A.;                                                                  N
     EQUIFAX INFORMATION                                                                     O
15
     SERVICES, LLC,                                                                          T
16                                                                                           I
                       Defendant(s).
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           NOTICE IS HERBY GIVEN that the dispute between EARNESTEEN
19
     HARRIS (“Plaintiff”) and Defendant BANK OF AMERICA, N.A. (“BOA”) has
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21
     been resolved on an individual basis. The parties anticipate filing a Stipulation for

22   Dismissal of the Action as to the named Plaintiff’s claims against BOA, with
23
     Prejudice, within 60 days. Plaintiff requests that all pending dates and filing
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     requirements as to BOA be vacated and that the Court set a deadline sixty (60)
 1

 2   from present for filing a Dismissal as to BOA.
 3
           Dated: October 30, 2017
 4
                                                  /s/ David H. Krieger, Esq.
 5                                                David H. Krieger, Esq.
 6
                                                  Attorneys for Plaintiff
 7                                                EARNESTEEN HARRIS
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